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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION

Canopy Growth Corporation,           )
                                     )
                   Plaintiff,        )
      v.                             )   Civil Action No. 6:20-cv-01180-ADA
                                     )
GW Pharma Limited and GW Research    )
Limited,                             )   JURY TRIAL DEMANDED
                                     )
                   Defendants.       )



           PLAINTIFF’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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       Canopy Growth Corporation (“Canopy” or “Plaintiff”) submits this responsive claim

construction brief to address the disputed claim limitation “CO2 in liquefied form under subcritical

pressure and temperature conditions,” recited in both asserted independent claims of U.S. Patent

No. 10,870,632 (“the ’632 Patent”). GW’s proposed construction improperly seeks to add a new

limitation into the claim language in an apparent attempt to evade infringement.1 To do so, GW

contradicts plain and ordinary meaning, improperly reads out subcritical embodiments expressly

disclosed in the specification, and disregards the relevant prosecution history. GW’s attempt to

add new limiting language into the claims should be rejected, and the disputed limitation should

be given its plain and ordinary meaning.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       Canopy accuses GW Pharma Ltd. (“GWP”) and GW Research Limited (“GWR”)

(collectively, “GW” or “Defendants”) of infringing Claims 1-3, 5-16, and 18-25 of the ’632 Patent.

The ’632 Patent generally relates to a process for producing an extract containing

tetrahydrocannabinol (THC), CBD, and optionally the carboxylic acids thereof from cannabis

plant materials. ’632 Patent at 1:23-26. For example, independent Claim 1 recites:

                      1. A process for producing an extract containing
               Tetrahydrocannabinol (THC) and/or cannabidiol (CBD), and
               optionally the carboxylic acids thereof, from a cannabis plant
               material or a primary extract thereof, said process comprising:
                      (1) subjecting the cannabis plant material or primary extract
               thereof to CO2 in liquefied form under subcritical pressure and
               temperature conditions to extract cannabinoid components; and
                      (2) reducing the pressure and/or temperature to separate
               tetrahydrocannabinol and/or cannabidiol, and optionally the
               carboxylic acids thereof, from the CO2.



1
  GW’s suggestion that Canopy somehow seeks to broaden the claims only after receiving some
of GW’s produced documents is an unfounded attempt to distract from the merits. See Dkt. 27 at
1. GW identified this term for construction—not Canopy—and Canopy did not disclaim any claim
scope in its infringement contentions.

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’632 Patent, Claim 1 (emphasis added). The parties dispute the limitation “CO2 in liquefied form

under subcritical pressure and temperature conditions,” recited in the extraction step, emphasized

above. Independent Claim 14 also recites this disputed limitation in its extraction step. ’632

Patent, Claim 14 (“subjecting the decarboxylated cannabis plant material or primary extract

thereof to CO2 in liquefied form under subcritical pressure and temperature conditions to extract

cannabinoid components”).

       Carbon dioxide (CO2), may exist under subcritical or supercritical conditions. Accord Dkt.

27 at 2 (“Supercritical and Subcritical CO2”).      Under subcritical pressure and temperature

conditions, CO2 may exist as a solid, liquid, or gas. Ex. B, Canopy_000001121, at 1121. Under

supercritical conditions, CO2 has characteristics of both a liquid and a gas. See, e.g., Ex. A,

Canopy_000001330, at 1331 (“[A] supercritical fluid is essentially a fluid with gas-like densities

and viscosities but it cannot be compressed, thus behaving more like a liquid.”). Supercritical

conditions are characterized by both the temperature above the critical temperature, and the

pressure above the critical pressure for that substance. Id.; Ex. B, Canopy_000001121, at 1121.

       A generic phase diagram depicting physical states of a substance under different pressure

and temperature conditions is depicted below.




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Ex. B, Canopy_000001121, at 1121. As depicted in this phase diagram, supercritical conditions

exist in the upper right-hand corner, labeled “supercritical fluid,” where both the temperature and

the pressure are above the critical point (B). Id. The rest of the diagram is characterized by

subcritical conditions, where the substance may be in the solid, liquid, or gas phases. Id.

       Every substance has a critical temperature and a critical pressure, and therefore its own

specific version of the generic phase diagram depicted above. For CO2, the critical temperature

(Tc) is 31ºC and the critical pressure (Pc) is 73.8 bar (72.8 atm). Id. at 1125; accord Dkt. 27 at 2.

The phase diagram for CO2 is reproduced below:




Ex. B, Canopy_000001121, at 1125. Again, as depicted above, supercritical conditions for CO2

are in the upper right-hand corner, labeled “supercritical fluid,” where both the temperature and

the pressure are above the critical point for CO2. Id. The rest of the diagram discloses subcritical

conditions, which result in the solid (“CO2(s)”), liquid (“CO2(l)”), and gas (“CO2(g)”) phases. Id.




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II.       APPLICABLE LAW

          The words of a patent claim “are generally given their ordinary and customary meaning.”

Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005).2 “There are only two exceptions to

this general rule: 1) when a patentee sets out a definition and acts as his own lexicographer, or 2)

when the patentee disavows the full scope of a claim term either in the specification or during

prosecution.” Thorner v. Sony Comput. Entm’t Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012).

III.      AGREED CLAIM TERM

          The parties agree on the following construction to correct a typographical error in certain

dependent claims:

                        Term                                          Construction
    “sequiterpenes” (Claims 8, 21)                     “sesquiterpenes”


Dkt. 27 at 6 n.3. Canopy requests the Court enter this agreed construction.

IV.       DISPUTED CLAIM TERM

          The parties dispute the construction of “CO2 in liquefied form under subcritical pressure

and temperature conditions,” recited in independent Claims 1 and 14. The parties’ proposed

constructions are below3:

         Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction
    Plain and Ordinary Meaning                         “CO2 in liquefied form under both subcritical
                                                       pressure and temperature conditions”

          As discussed above, CO2 may exist under subcritical conditions or supercritical conditions.

See supra Section I. Under subcritical conditions, CO2 may exist as a solid, liquid, or gas. See id.

Thus, the plain and ordinary meaning of “CO2 in liquefied form under subcritical pressure and



2
  All internal citations and quotations are omitted unless otherwise indicated.
3
  Differences between GW’s proposed construction and the disputed claim limitation are indicated
in bold and underline.

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temperature conditions” encompasses the portion of the phase diagram for CO2 bound by the

dashed lines below (“CO2(l)”):




See Ex. B, Canopy_000001121, at 1125 (dashed lines added).

       The parties’ dispute centers on whether “CO2 in liquefied form under subcritical pressure

and temperature conditions” includes all liquid CO2 under subcritical pressure and temperature

conditions, or whether, as GW proposes, the word “both” should be added to the claims such that

the claims include only liquid CO2 where “both” temperature is below the critical temperature (Tc)

and pressure is below the critical pressure (Pc). In other words, the parties dispute whether the

claim limitation at issue encompasses the portion of the liquid phase indicated in striped shading

below (which GW proposes should be excluded):




                                                5
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Ex. B, Canopy_000001121, at 1125 (shading added). GW’s proposed narrowing improperly

deviates from the ordinary meaning of the claim without the requisite justification.             As

demonstrated by the claims’ plain language, embodiments expressly disclosed in the specification

that GW improperly would read out, the applicant’s arguments distinguishing prior art in the

prosecution history, and the extrinsic evidence, all discussed below, the disputed claim limitation

encompasses the full range of subcritical pressure and temperature conditions for liquefied CO2,

and GW’s proposed construction attempting to narrow this range should be rejected.

       A. GW’s Proposed Construction Contradicts Plain and Ordinary Meaning.

       There is a “heavy presumption that a claim term carries its ordinary and customary

meaning.” CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359, 1366 (Fed. Cir. 2002); see also

Phillips, 415 F.3d at 1312 (“We have frequently stated that the words of a claim are generally

given their ordinary and customary meaning.”). “There are only two exceptions to this general

rule: 1) when a patentee sets out a definition and acts as his own lexicographer, or 2) when the

patentee disavows the full scope of a claim term either in the specification or during prosecution.”




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Thorner, 669 F.3d at 1365. Otherwise, “[t]he patentee is free to choose a broad term and expect

to obtain the full scope of its plain and ordinary meaning.” Id. at 1367.

       Canopy seeks the plain and ordinary meaning of “CO2 in liquefied form under subcritical

pressure and temperature conditions.” GW’s construction seeks to add the word “both” to the

claims, improperly narrowing the subcritical conditions of liquefied CO2 to only those in which

“both” pressure is below the critical pressure (Pc) and temperature is below the critical temperature

(Tc). GW ignores that the claims recite “subcritical pressure and temperature conditions,” and not

just “subcritical pressure and temperature.” As explained further below, subcritical pressure and

temperature “conditions” are achieved by having one or both of pressure and temperature below

their respective critical points (in other words, not supercritical conditions), and are not limited to

“both subcritical pressure and temperature,” as GW proposes. See, e.g., ’632 Patent, at 6:3-12. A

person of ordinary skill in the art (POSITA) would have understood the claims to encompass the

full range of liquefied CO2 under subcritical pressure and temperature conditions, as supported by

the plain language of the claims, express embodiments disclosed in the specification, applicant’s

arguments distinguishing the prior art in the prosecution history, and extrinsic evidence addressed

below. GW’s proposed narrowing contradicts the plain and ordinary meaning of the claim without

establishing the requisite justification in the form of either lexicography or disclaimer. See

Thorner, 669 F.3d at 1365.

       B. The Plain Language of the Claims Does Not Support GW’s Construction.

       GW’s attempt to add a new limitation into the claims (“both”) is unsupported by the plain

language of the claims, and contradicts their plain and ordinary meaning and the intrinsic record.

See Chef Am., Inc. v. Lamb-Weston, Inc., 358 F.3d 1371, 1375 (Fed. Cir. 2004) (“[W]e have

repeatedly declined to rewrite unambiguous claim language . . .”). Claims 1 and 14 recite “CO2 in




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liquefied form under subcritical pressure and temperature conditions.” The claims do not recite

under “subcritical pressure and temperature,” let alone “both” as GW proposes:

           Recited Claim Limitation              GW’s Proposed Interpretation
 “CO2 in liquefied form under subcritical “CO2 in liquefied form under both subcritical
 pressure and temperature conditions”     pressure and temperature conditions”

       The recited “conditions” are subcritical because both pressure and temperature are not

above the critical point (in other words, the conditions are not supercritical). See, e.g., ’632 Patent

at 5:10-20, 6:3-12 (expressly disclosing subcritical embodiments in which temperature is below

the critical temperature and pressure is above the critical pressure, and contrasting to embodiments

under supercritical conditions); Ex. C, ’632 FH, 4/20/20 OA Resp., at 11-12 (Canopy_000000236-

37) (distinguishing prior art by contrasting subcritical conditions with supercritical conditions);

id., 6/26/20 OA Resp., at 8 (Canopy_000000216) (similar); id., 8/28/20 OA Resp., at 7-8

(Canopy_000000153-54) (similar).         As the intrinsic record makes clear, the pressure and

temperature conditions recited in the claims are “subcritical” because one or both of pressure and

temperature are below their respective critical points. See id.

       GW’s overemphasis on two words in isolation—“and” and the fact that “conditions” is

plural—ignores the full context of the claim language and is inconsistent with express

embodiments in the specification, which discloses “subcritical” embodiments in which

temperature is below the critical point and pressure is above the critical point. See, e.g., ’632

Patent at 5:10-20, 6:10-12. Moreover, the claims’ use of the plural “conditions” is merely

consistent with common parlance, and reflects that pressure and temperature conditions determine

the phase of CO2. See Ex. B, Canopy_000001121, at 1125. For example, the specification

consistently uses the plural “conditions,” even when referring to conditions for only one of

pressure or temperature. See, e.g., ’632 Patent at 7:49 (“subcritical conditions in terms of




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pressure”), 10:31-33 (describing “pressure conditions” for separation).4 And during prosecution,

applicant characterized the disputed limitation interchangeably as “subcritical conditions of

temperature and pressure,” which contradicts GW’s proposed interpretation. See, e.g., Ex. C, ’632

FH, 4/20/20 OA Resp., at 11-12 (Canopy_000000236-37); id., 6/26/20 OA Resp., at 7-8

(Canopy_000000215-16) (similar). Thus the use of the plural “conditions” does not signify that

“both” pressure and temperature must be below their critical points, as GW alleges.

       This plain meaning is further supported by dependent Claims 3-5 and 16-18, which depend

from Claims 1 and 14. Dependent Claims 3-5 and 16-18 recite either specific pressures below the

critical pressure (Pc) or specific temperatures below the critical temperature (Tc) for the extracting

step. None of the claims, whether independent or dependent, requires “both” a pressure below the

critical pressure and a temperature below the critical temperature, as GW attempts to read into all

claims. Thus, nothing in the plain language of the claims justifies departing from their plain and

ordinary meaning to narrow the claims as GW proposes.

       C. GW’s Proposed Construction Improperly Reads out Express Subcritical
          Embodiments from the Specification.

       GW’s proposed construction improperly reads out express subcritical embodiments

described in the specification, in which conditions with pressures above the critical pressure (Pc)

and temperatures below the critical temperature (Tc) are deemed subcritical.

       The specification discloses embodiments for the pressure and temperature conditions of

CO2 extraction under (1) supercritical conditions and (2) subcritical conditions. In at least two

separate instances, the specification discloses an express embodiment for extraction under

subcritical conditions in which the temperature is below the critical temperature and the pressure


4
  Since both parties appear to agree that certain typographical errors in the specification refer to
“subcritical,” for ease of reference and the Court’s convenience, Canopy corrects these
typographical errors in all quotations unless otherwise indicated.

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is above the critical pressure—precisely the embodiment GW seeks to read out from the claims.

First, the specification discloses, “[i]n the subcritical range, in contrast, a temperature of approx.

20ºC to 30ºC and a supercritical pressure of approx. 100 bar to 350 bar are used.” ’632 Patent at

6:10-12. The specification contrasts these subcritical conditions from supercritical conditions, in

which both temperature and pressure are above the critical point. Id. at 6:3-12 (describing

extraction under supercritical conditions before disclosing, “in contrast,” the subcritical conditions

in which temperature is below the critical temperature and pressure is above the critical pressure).

       Second, the specification again discloses embodiments where extraction is performed

under supercritical conditions and under subcritical conditions, in the passage below, also cited by

GW:

               In accordance with the invention, a primary extract containing
               tetrahydrocannabinol, cannabidiol, and optionally the carboxylic
               acids thereof, is obtained from cannabis plant material in that the
               dried plant material is comminuted, the plant material is extracted
               with the aid of CO2 under supercritical pressure and temperature
               conditions at a temperature in the range of approx. 31°C to 80°C
               and at a pressure in the range of approx. 75 bar to 500 bar, or in
               the subcritical range at a temperature of approx. 20°C to 30°C and
               a supercritical pressure of approx. 100 bar to 350 bar; or extracted
               under subcritical pressure and temperature conditions; and the
               obtained primary extract is separated under subcritical conditions,
               or under conditions that are subcritical in terms of pressure and
               supercritical in terms of temperature.

’632 Patent at 5:6-20 (emphasis added). Here, the specification expressly describes both a specific

example of subcritical conditions (“or in the subcritical range at a temperature of approx. 20ºC to

30ºC and a supercritical pressure of approx. 100 bar to 350 bar”) and a broad catch-all embodiment

of subcritical conditions (“or extracted under subcritical pressure and temperature conditions”).

See id. GW incorrectly argues this passage discloses three alternative embodiments, when in fact

the second embodiment (describing specific subcritical conditions) is a subset of the broader third




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embodiment (describing subcritical conditions more generally).5 The fact that the specification

describes both embodiments as “subcritical” plainly contradicts GW’s argument. Id. Moreover,

the disclosure at 6:3-12 described above further undercuts GW’s argument, because the same

specific subcritical embodiment is again expressly disclosed, and expressly contrasted only with

supercritical conditions, not with the broader embodiment for subcritical conditions:

                        The extraction process of the invention preferably operates
                in the supercritical range at a temperature of approx. 31ºC to 80ºC
                and a pressure of approx. 75 bar to 500 bar, in particular at a
                temperature of approx. 45ºC to 65ºC and a pressure of approx. 100
                bar to 350 bar, preferably at a temperature of approx. 60ºC and a
                pressure of approx. 250 bar.
                        In the subcritical range, in contrast, a temperature of
                approx. 20ºC to 30ºC and a supercritical pressure of approx. 100
                bar to 350 bar are used.

Id. at 6:3-12 (emphasis added).

        Because GW’s proposed construction would improperly read out the express embodiment

of subcritical conditions where temperature is below the critical temperature (20ºC to 30ºC) and

pressure is above the critical pressure (100 bar to 350 bar)—described twice in the specification—

it should be rejected on this basis alone. See, e.g., Vitronics Corp. v. Conceptronic, Inc., 90 F.3d

1576, 1583 (Fed. Cir. 1996) (recognizing that reading out an embodiment expressly disclosed in

the specification is “rarely, if ever, correct”).

        GW otherwise points to two exemplary embodiments that relate to the separating step,

which is the step in which pressure and/or temperature are reduced:



5
  To attempt to argue that the specific subcritical conditions embodiment is somehow a distinct
and wholly unrelated alternative to the broader, catchall subcritical conditions embodiment rather
than a subset of it, GW relies solely on numerical notations of [1], [2], and [3] that it added, and
that do not appear in the patent. See Dkt. 27 at 3, 7. Again, the specification itself belies GW’s
argument by deeming both embodiments “subcritical,” and when later repeating the specific
subcritical conditions embodiment, contrasting it only with supercritical conditions. ’632 Patent
at 5:6-20, 6:3-12.

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               The obtained extract is separated out under pressure and
               temperature conditions subcritical for CO2, preferably at approx. 55
               bar and approx. 25ºC.

               [I]n the second and third separating vessels, where Δ8-THC and Δ9-
               THC are separated out, conditions subcritical for CO2 in terms of
               pressure and temperature are to prevail, in the second separating
               vessel preferably 60 bar and 30ºC, in the third separating vessel
               preferably 55 bar and 25ºC.

Dkt. 27 at 8 (quoting ’632 Patent, at 7:22-24, 7:51-57) (emphasis added). As the word “preferably”

denotes, these are merely exemplary embodiments and not meant to limit the full range of the

claimed subcritical pressure and temperature conditions. See, e.g., Whetstone Elecs., LLC v. Xerox

Corp., No. 6:10-cv-278, 2011 WL 3510750, at *6 (E.D. Tex. Aug. 10, 2011) (recognizing that use

of the word “preferably” in the specification clearly indicates merely a preferred embodiment, and

that “limiting the scope of the claim language based on this statement would be improper”). In

any event, these embodiments relate to the separation step, not the extraction step in which the

disputed claim limitation is recited. See ’632 Patent, Claims 1, 14.

       GW thus fails to establish any lexicography or “expressions of manifest exclusion or

restriction, representing a clear disavowal of claim scope,” sufficient to justify departing from

plain and ordinary meaning. See Epistar Corp. v. Int’l Trade Comm’n, 566 F.3d 1321, 1334 (Fed.

Cir. 2009) (quoting Teleflex, Inc. v. Ficosa N. Am. Corp., 229 F.3d 1313, 1325 (Fed. Cir. 2002));

Thorner, 669 F.3d at 1365-66. Rather, GW’s proposed construction would improperly read out

an express subcritical embodiment disclosed in the specification. Accordingly, GW’s proposed

construction should be rejected.

       D. The Prosecution History Supports Plain and Ordinary Meaning.

       GW devotes the majority of its brief to the prosecution history, arguing that Canopy

disclaimed from its claim scope “CO2 in liquefied form under subcritical pressure and temperature

conditions” where pressure and temperature are not “both” below their respective critical points.


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See Dkt. 27 at 9-13. GW not only fails to demonstrate any clear and unmistakable disavowal, but

it relies on amendments to claims that were canceled entirely, and therefore are less probative of

the scope of the issued claims. Further, during prosecution of the rewritten and relevant claims—

the ones that ultimately led to the issued claims before the Court—applicant consistently

distinguished “CO2 in liquefied form under subcritical pressure and temperature conditions” from

supercritical CO2 in the prior art, further supporting that ordinary meaning encompasses the full

range of pressure and temperature conditions for CO2 in the liquid phase of subcritical conditions,

as opposed to CO2 as a supercritical fluid under supercritical conditions.

               1.      GW Fails to Establish Clear and Unmistakable Disclaimer Required
                       to Justify Departing from Plain and Ordinary Meaning.

       “[F]or prosecution disclaimer to attach, our precedent requires that the alleged disavowing

actions or statements made during prosecution be both clear and unmistakable.” Omega Eng’g,

Inc. v. Raytek Corp., 334 F.3d 1314, 1325-26 (Fed. Cir. 2003). The Federal Circuit has described

the standard for disavowal as “exacting,” requiring “expressions of manifest exclusion or

restriction, representing a clear disavowal of claim scope.” Thorner, 669 F.3d at 1366; Epistar,

566 F.3d at 1334 (quoting Teleflex, 299 F.3d at 1325). Thus disclaimer does not apply “[w]here

the alleged disavowal is ambiguous, or even amenable to multiple reasonable interpretations.”

Avid Tech., Inc. v. Harmonic, Inc., 812 F.3d 1040, 1045 (Fed. Cir. 2016). Further, prosecution

history disclaimer rarely justifies reading out an embodiment. SEB S.A. v. Montgomery Ward &

Co., Inc., 594 F.3d 1360, 1369-71 (Fed. Cir. 2010); Amgen Inc. v. Hoechst Marion Roussel, Inc.,

314 F.3d 1313, 1349 (Fed. Cir. 2003). The party seeking to invoke disclaimer bears the burden to

prove disclaimer. Mass. Inst. of Tech. v. Shire Pharm., Inc., 839 F.3d 1111, 1119 (Fed. Cir. 2016).

       GW alleges that during the prosecution of the ’632 Patent and its parent patent, U.S. Patent

No. 8,895,078 (“the ’078 Patent”), applicant disclaimed claim scope of extraction with liquefied



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CO2 under subcritical pressure and temperature conditions that do not involve “both” pressure

below the critical pressure and temperature below the critical temperature. Dkt. 27 at 11-13. GW

fails to point to any statement in the prosecution history for either patent that amounts to an express

manifestation to exclude any pressure and temperature conditions from the full scope of CO2 in

the liquid phase under subcritical conditions, as required to show disclaimer.

       For the ’632 Patent, GW relies on claims that were canceled, and therefore do not relate to

the presently asserted claims before the Court. All portions of the prosecution history relied on by

GW pre-date the applicant’s April 20, 2020 amendment, where the applicant canceled all claims

and submitted new claims that do not contain the limitations or amendments that GW attempts to

distinguish from the recited limitation in dispute. Compare Dkt. 27 at 11-13 with Ex. C, ’632 FH,

4/20/20 OA Resp., at 7 (Canopy_000000232).

       GW otherwise relies on the prosecution of the parent ’078 Patent to argue disclaimer, but

this patent recites different claims. Dkt. 27 at 9-11. The ’078 Patent claims relied on by GW—

specifically, the limitations that relate to CO2 conditions for the extraction—are similar to the

claims that were canceled in the ’632 Patent file history, not those that led to the ultimately issued

claims at issue here. Compare Dkt. 27 Ex. 4 at 10 (1/3/09 Claims at 2) and Dkt. 27 Ex. 5 (’078

Patent at Claims 1-3) (cited by GW in Dkt. 27 at 9) with Ex. C, ’632 FH, 4/20/20 OA Resp., at 7.

       GW does not demonstrate how any statement or action by applicant with respect to these

canceled claims, or claims of a different patent that track the canceled claims, amount to a clear

and unmistakable disavowal of the currently asserted claims. See, e.g., Mass. Institute of Tech.,

839 F.3d at 1120-22 (discounting allegedly disclaiming statements made during prosecution when

made “in the context of different claims” that were ultimately canceled, finding the statements “do

not meet the high standard for prosecution disclaimer to attach”); Ventana Med. Sys., Inc. v.




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Biogenex Labs., Inc., 473 F.3d 1173, 1182-83 (Fed. Cir. 2006) (patentee’s arguments to distinguish

claims of an earlier, related application reciting different terms did not amount to disclaimer).

       Nothing in the prosecution histories of the ’632 or ’078 Patents meets the “exacting”

standard for disavowal or disclaimer—let alone with respect to the new claims that ultimately

issued into the claims asserted in this case. GW thus fails to “overcome a heavy presumption that

claim terms carry their full ordinary and customary meaning,” by showing “the patentee expressly

relinquished claim scope” through clear and unmistakable disclaimer. See Epistar, 566 F.3d at

1334 (citing Omega Eng’g, 334 F.3d at 1323).

               2.      Applicant Distinguished Subcritical Conditions from Supercritical
                       Conditions During the Relevant Prosecution History, Consistent with
                       Plain and Ordinary Meaning.

       On April 20, 2020, the office action response that immediately follows GW’s selectively

excerpted file history, applicant canceled all pending claims and submitted new claims. Ex. C,

’632 FH, 4/20/20 OA Resp., at 7 (Canopy_000000232). As applicant indicated, “[t]his listing of

claims will replace all prior versions, and listings, of claims in the application.” Id. Applicant’s

new independent claim 35 (now claim 1) recites as follows:




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Id. It is this set of claims, not the claims that GW relies on, that ultimately led to the claims at

issue in the ’632 Patent. Yet GW ignores the prosecution of these claims entirely. See Dkt. 27 at

9-13 & Ex. 6.

       After applicant canceled its original claims and submitted new claims to the Patent Office,

applicant repeatedly and consistently distinguished subcritical conditions from supercritical

conditions, consistent with plain and ordinary meaning. First, in its April 20, 2020 response,

applicant distinguished the relevant claims from the prior art, and in particular the alleged primary

reference Webster, because Webster disclosed extraction solely with CO2 as a supercritical fluid,

not CO2 under subcritical conditions:

                Thus, Webster does not teach to use liquid CO2 under subcritical
                conditions of temperature and pressure. In the above paragraph,
                Webster is describing extraction using CO2 solely in the form of a
                supercritical fluid. . . . . Nowhere does Webster teach or suggest to
                use subcritical CO2 in liquefied form.

Ex. C, ’632 FH, 4/20/20 OA Resp., at 12 (Canopy_000000237) (emphasis in original). Applicant

similarly distinguished a secondary reference on these grounds. Id. (arguing Gregg disclosed

“using CO2 under supercritical conditions of at least 500 bar,” and teaches away “from using less

than 500 bar (see the examples), and more particularly do not provide any teaching or suggestion

to use CO2 in liquefied form under subcritical conditions.”) (emphasis in original). Applicant

repeated essentially the same arguments in its next office action response. Id., 6/26/20 OA Resp.,

at 8 (Canopy_000000216).

       In the next and last office action response before the examiner allowed the claims, applicant

once again distinguished the prior art by contrasting subcritical from supercritical conditions. Id.,

8/28/20 OA Resp., at 7-8 (Canopy_000000153-54) (“Examiner appears to argue at page 7 of the

Office Action that Applicant’s claims read on the supercritical conditions of Webster or that




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Webster teaches an adjustment that Applicant’s claims would read on. Applicant strongly

disagrees.”); see also id. at 8 (“Applicant disagrees and submits that Webster’s supercritical CO2

does not read on Applicant’s claims.”) (emphasis in original). Applicant further explained:

               As previously submitted, the sentence in Webster referring to an
               adjustment (col. 4, ln. 58-60) merely describes that changes in
               temperature and pressure of the supercritical fluid (i.e. above 32ºC
               and 73 atm) can vary the effective polarity. Webster is still referring
               to a supercritical fluid (i.e. one that is under sufficient pressure and
               heat that it is no longer distinctly liquid or gaseous). Nowhere does
               Webster teach or suggest to adjust the temperature and pressure to
               use subcritical CO2 in liquefied form.

Id. at 8 (Canopy_000000154) (some emphasis in original, some added).

       Thus in all three of the office action responses applicant submitted after canceling the

claims that GW relies on and submitting new claims, applicant distinguished the claimed CO2

under subcritical pressure and temperature conditions from supercritical conditions in the prior

art, after which the examiner allowed the claims. Accordingly, the prosecution history supports

the plain and ordinary meaning that the claimed subcritical conditions encompass the full range of

subcritical pressure and temperature conditions for liquefied CO2 that do not result in supercritical

CO2, contrary to GW’s proposed construction.

       E. The Extrinsic Evidence Supports Plain and Ordinary Meaning.

       “[T]he ordinary and customary meaning of a claim term is the meaning that the term would

have to a person of ordinary skill in the art in question at the time of the invention, i.e., as of the

effective date of the patent application.” Phillips, 415 F.3d at 1313. “The inquiry into how a

person of ordinary skill in the art understands a claim term provides an objective baseline from

which to begin claim interpretation.” Id. The plain and ordinary meaning is further supported by

extrinsic evidence, which evidences that POSITAs did not and do not understand subcritical

conditions as requiring “both” pressure and temperature to be below the critical point.



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       POSITAs describe subcritical fluid extractions as those encompassing the full subcritical

liquid conditions (in other words, not a supercritical fluid). For example, one publication directed

to CO2 extraction of cannabis (the same subject matter of the ’632 Patent) describes subcritical

CO2 as CO2 that is not supercritical, explaining that “[s]ubcritical CO2 can be achieved by either

lowering the pressure below Pc or the temperature below Tc.” Ex. A, Canopy_000001330, at

1332 (emphasis added). Moreover, POSITAs describe subcritical conditions in contrast to

supercritical conditions, consistent with plain and ordinary meaning.           See, e.g., Ex. D,

Canopy_000001272, at 1273 (“The term subcritical refers to a liquid at temperatures between the

atmospheric boiling point and the critical temperature, whereas in the supercritical state,

experimental conditions are higher than the critical temperature and pressure.”) (emphasis added).

GW’s proposed construction adding the requirement that “both” pressure be below Pc and

temperature be below Tc directly contradicts this plain and ordinary meaning as understood by

POSITAs.

       In fact, the literature is rife with examples—from the 1990s to the present day—of CO2

extractions performed under subcritical conditions which would not fall within GW’s narrow

construction, as shown in Table 1.

       Table 1: CO2 Extractions in Literature Deemed Subcritical Where “Both” Pressure
       and Temperature are Not Below their Respective Critical Points6

     Extraction           Extraction                               Evidence
    Temperature            Pressure
      Below Tc             Above Pc          Dillow, Angela K. et al., Bacterial Inactivation by
       (25ºC)              (205 bar)         Using Near- and Supercritical Carbon Dioxide, 96
                                             Proc. Natl. Acad. Sci. USA 10344 (1999) (Ex. E,
                                             Canopy_000001105, at 1106-07).
     Above Tc              Below Pc          Stashenko, Elena et al., High-Resolution Gas-
     (40-45ºC)          (900-950 psi or      Chromatographic Analysis of the Secondary

6
 For reference, the critical temperature (Tc) and critical pressure (Pc), for CO2 are 31ºC and 73.8
bar (72.8 atm), respectively. Ex. B, Canopy_000001121, at 1125; accord Dkt. 27 at 2.

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                            62-65.5 bar)       Metabolites      Obtained   by     Subcritical-Fluid
                                               Extraction from Colombian Rue (Ruta Graveolens
                                               L.), 43 J. of Biochem. Biophys. Methods 379 (2000)
                                               (Ex. F, Canopy_000001301, at 1301-02).
       Below Tc              Above Pc          Rochova, Kristina, Effect of Plant Structure
        (25ºC)          (12 MPa or 120 bar)    Modification and Natural Convection in Solvent on
                                               the Rate of Supercritical Extraction, Universite de
                                               La Rochelle (2008) (Ex. G, Canopy_000001126, at
                                               1182, 1212, 1216).
       Below Tc               Above Pc         Duval, Johanna, et al., Selective Enrichment in
        (30ºC)           (10 and 20 MPa or     Bioactive Compound from Kniophofia Uvaria by
                          100 and 200 bar)     Super/Subcritical Fluid Extraction and Centrifugal
                                               Partition      Chromatography,    1447      J.    of
                                               Chromatography        26     (2016)     (Ex.      D,
                                               Canopy_000001272, at 1275 (Table 2)).
        Below Tc         Pressures spanning    U.S. Patent No. 10,315,129 to Auerbach et al. (Ex.
     (-60 to -80ºF or      both below and      H, Canopy_000001258, at 1:36-38, 1:55-59, 2:9-
    -51.1 to -62.2ºC)         above Pc         17).
                         (500 to 5000 psi or
                          34.5 to 344.7 bar)
          At Tc               Above Pc        Shen, Yufeng et al., Online Supercritical Fluid
         (31ºC)         (3000 psi or 207 bar) Extraction Mass Spectrometry (SFE-LC-FTMS) for
                                              Selective Characterization of Soil Organic Matter,
                                              218 Faraday Discussions 157 (2019) (Ex. I,
                                              Canopy_000001285, at 1285, 1289) (“subcritical
                                              fluid extraction (SFE)”).
       Below Tc               Above Pc        Vagi,     Erika     et    al.,  Fractionation  of
        (27ºC)            (8 MPa or 80 bar)   Phytocannabinoids from Industrial Hemp Residues
                                              with High-Pressure Technologies, 164 J. of
                                              Supercritical     Fluids    1  (2020)     (Ex.  J,
                                              Canopy_000001263, at 1263, 1265, 1267-68, 1271).

This understanding of subcritical conditions extends beyond just CO2 extractions, and to

extractions using other extracts or solvents as well, as shown by the examples in Table 2:

          Table 2: Extractions Using Other Solvents Deemed Subcritical Extractions Where
          “Both” Pressure and Temperature are Not Below their Respective Critical Points

        Solvent           Solvent’s         Extraction    Extraction            Evidence
                           Tc / Pc7        Temperature     Pressure
    n-propane           97ºC / 42.5 bar      Below Tc      Above Pc     Zanqui, Ana et al.,
                                            (30-60ºC)                   Subcritical Extraction of
                                                                        Flaxseed Oil with N-

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    See Ex. L, Canopy_000001313, at 1315.

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                                                        (8-12 MPa     Propane: Composition and
                                                         or 80-120    Purity, 188 Food Chem.
                                                            bar)      452 (2015) (Ex. K,
                                                                      Canopy_000001323, at
                                                                      1323-24, 1328)
 1,1,1,2-            101ºC / 41 bar      Below Tc        Above Pc     Xu, Feiyue, Development
 tetrafluoroethane                        (40ºC)        (12 MPa or    and Validation of
                                                          120 bar)    Subcritical 1,1,1,2-
                                                                      Tetrafluoroethane
                                                                      Extraction Technique, 40
                                                                      J. of Separation Science
                                                                      4213 (2017) (Ex. L,
                                                                      Canopy_000001313, at
                                                                      1314-15)

       As these examples demonstrate, POSITAs over the course of at least the past 20 years,

consistently understood “subcritical” conditions as encompassing pressure and temperature

conditions beyond those in which “both” pressure and temperature are below their respective

critical points, directly contradicting the construction GW advocates for here. See Teva Pharm.

USA, Inc. v. Sandoz, Inc., 574 U.S. 318, 331 (2015) (recognizing district courts may “look beyond

the patent’s intrinsic evidence and . . . consult extrinsic evidence in order to understand, for

example the background science or meaning of a term in the relevant art during the relevant time

period”). GW’s proposed construction ignores the plain and ordinary meaning of the disputed

phrase and directly contradicts how POSITAs have used, and therefore would have understood,

these terms for decades. The Court should accordingly reject GW’s proposed narrowing, and

construe the disputed limitation consistent with its plain and ordinary meaning.

V.     CONCLUSION

       For the reasons set forth above, the Court should reject GW’s proposed and unjustifiably

narrow claim construction and adopt plain and ordinary meaning.




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Dated: August 24, 2021                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 24, 2021, a copy of the foregoing was served on all counsel

 of record.


                                                     /s/ Kurt Pankratz
                                                     Kurt Pankratz




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